           Case 1:17-bk-12075                     Doc 92          Filed 06/03/19 Entered 06/03/19 10:32:27                                 Desc Main
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(Spouse, if filing)

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                                                                                                 Must be at least 21 days after date
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                                                                                                 Principal, interest, and escrow, if any
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        YDULDEOHUDWHDFFRXQW"
        ✔
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
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           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
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 Official Form 410S1                                                  1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                              page 1
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      Debtor 11:17-bk-12075                   Doc 92 Last
                                                        Filed      06/03/19 EnteredCase
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                                                                                      06/03/19       10:32:27
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 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


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    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



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 8    /s/Brandon Lolwing
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Signature
                                                                                    06/03/2019
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        LOLWING, BRANDON                                                           VP Loan Documentation
                                                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        First Name           Middle Name      Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                  Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Eagan                                   MN      55121-7700
            BBBB_______________________________________________BBBBBBBB__
              City                                       State      ZIPCode



                     800-274-7025                                                  NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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Official Form 410S1                                       1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                            page 
          Case 1:17-bk-12075        Doc 92       Filed 06/03/19 Entered 06/03/19 10:32:27                  Desc Main
                     UNITED STATES BANKRUPTCY COURT
                                                 Document     Page 3 of 7

                                                      Southern District of Ohio


                                                  Chapter 13 No. 1712075
                                                  Judge: Beth A. Buchanan

In re:
Martino M. Wilson
                                         Debtor s 

                                         CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before June 04, 2019 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                           %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                   Martino M. Wilson
                                   6517 Greentree Drive

                                   Cincinnati OH 45224



                                  %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                   N/A




Debtor’s Attorney:                %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                   Jessica Goldberger
                                   Amourgis & Associates, LLC
                                   300 E. Business Way
                                   Suite 200
                                   Cincinnati OH 45241


                                  %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                   N/A




Trustee:                          %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                   Margaret A Burks
                                   Trustee
                                   600 Vine Street
                                   Suite 2200
                                   Cincinnati OH 45202

                                                          /s/Brandon Lolwing
                                                          @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                          VP Loan Documentation
                                                          Wells Fargo Bank, N.A.
         Case 1:17-bk-12075               Doc 92                             Customer
                                                        Filed 06/03/19 Entered  06/03/19Service
                                                                                           10:32:27                              Desc Main
                                                        Document     Page 4 of 7 Online                                          Telephone
                                                                                                 wellsfargo.com                  1-800-340-0473
          MARTINO M WILSON
                                                                                                 Correspondence                  Hours of operation
          6517 GREENTREE DR                                                                      PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
          CINCINNATI OH 45224-2224                                                               Des Moines, IA 50306
                                                                                                 To learn more, go to:
                                                                                                 wellsfargo.com/escrow


                                                                                                   We accept telecommunications relay service calls



PLEASE NOTE: If you are presently seeking relief (or have previously been granted
relief) under the United States Bankruptcy Code, this statement is being sent to you
for informational purposes only. The summaries below are based on the terms of the
loan and are provided for informational purposes only.
These amounts are governed by the terms of the loan unless otherwise reduced by an
order of the bankruptcy court. Because the amounts billed for the escrow items can
change over time, we review the escrow account at least once per year to ensure there
will be enough money to make these payments. Once the review is complete, we send
the escrow review statement, also known as the escrow account disclosure statement.
                                                                                             The escrow account has a shortage of
Here's what we found:
     • Required Minimum Balance: The escrow account balance is projected to                               $303.25
        fall below the required minimum balance. This means there is a shortage.

     •   Payments: As of the July 1, 2019 payment, the contractual portion of the
         escrow payment decreases.



  Part 1 - Mortgage payment

         Option 1                Pay the shortage amount over 12 months
                                  Previous payment through New payment beginning with
                                  06/01/2019 payment date   the 07/01/2019 payment
                                                                                                Option 1: No action required
 Principal and/or interest                   $538.16                  $538.16

 Escrow payment                             $728.46                   $671.90               Starting July 1, 2019 the new contractual payment
 Total payment amount
                                                                                            amount will be $1,210.06
                                         $1,266.62                $1,210.06

         Option 2                Pay the shortage amount of $303.25
                                  Previous payment through New payment beginning with
                                  06/01/2019 payment date   the 07/01/2019 payment
                                                                                                Option 2: Pay shortage in full
 Principal and/or interest                   $538.16                  $538.16

 Escrow payment                             $728.46                   $646.63               Starting July 1, 2019 the new contractual payment
 Total payment amount                                                                       amount will be $1,184.79
                                         $1,266.62                 $1,184.79


                                                                                           Note: Since a bill pay or third-party payment service is
                                                                                           used, please remember to adjust the mortgage payment
                                                                                           amount. This applies to both options.




                                                       See Page 2 for additional details.


                                        Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                        States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                        Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                        payments, please contact your attorney or the Trustee’s office before directly sending any
                                        amounts relating to this escrow shortage

                                                                  If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                  and mail it along with a check for $303.25 to the address that appears on this coupon.
  MARTINO M WILSON
                                                                  This payment must be received no later than July 1, 2019.


              Wells Fargo Home Mortgage
              PO Box 14538
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow Case    1:17-bk-12075
       items that                        Doc
                  may have been paid in the past92
                                                and anyFiled   06/03/19payments
                                                        future anticipated     Entered       06/03/19
                                                                                    to be made.          10:32:27
                                                                                                We then divide the amountsDesc    Main to
                                                                                                                            by 12 payments
determine the escrow amount.                         Document              Page 5 of 7
The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                          New monthly
                                      10/16 - 09/17     07/17 - 06/18        08/18 - 05/19   07/19 - 06/20
                                                                                                                       # of                 escrow
                                        (Actual)          (Actual)             (Actual)       (Projected)
                                                                                                                      months                amount

Property taxes                             $4,344.51          $5,207.71          $2,698.60     $5,294.89       ÷         12        =          $441.24
Property insurance                         $1,009.56         $1,069.14           $1,126.44      $1,126.44      ÷         12        =           $93.87
Total taxes and insurance                  $5,354.07         $6,276.85           $3,825.04      $6,421.33      ÷         12        =         $535.11
Escrow shortage                              $162.94             $0.00           $1,087.69      $303.25        ÷         12        =           $25.27**
Mortgage insurance                         $1,426.32         $1,398.65           $1,134.52      $1,338.24      ÷         12        =          $111.52

Total escrow                               $6,943.33         $7,675.50           $6,047.25     $8,062.82       ÷         12        =          $671.90


**
    This amount is added to the payment if Option 1 on page 1 is selected.


Projected escrow account activity over the next 12 months
To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                    (Calculated in Part 3 - Escrow account projections
Lowest projected escrow balance January, 2020                                       $712.60         table)

Bankruptcy adjustment‡                                                 +             $54.37

Minimum balance for the escrow account†                                 -        $1,070.22          (Calculated as: $535.11 X 2 months)


Escrow shortage                                                        =          -$303.25


‡
 This adjustment of $54.37, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
confirmed bankruptcy plan.
†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
account, we add the yearly escrow payments, and divide by 12 (this amount does not include mortgage insurance). We take this amount and multiply
it by 2 as allowed by state laws and/or the mortgage contract to determine the cash reserve.
              Payments to               expect to                                                                  Projected escrow        Balance required
Date            escrow                   pay out         Description                                                   balance              in the account
Jun 2019
         Case 1:17-bk-12075               Doc 92       Filed     06/03/19 Entered 06/03/19 10:32:27
                                                        Starting balance                        $791.87
                                                                                                        Desc Main
                                                                                                              $1,149.49
Jul 2019            $646.63                  $111.52
                                                       Document
                                                        FHA Insurance
                                                                         Page 6 of 7          $1,326.98       $1,684.60
Aug 2019            $646.63                  $111.52     FHA Insurance                                                   $1,862.09                   $2,219.71
Sep 2019            $646.63                  $111.52     FHA Insurance                                                  $2,397.20                    $2,754.82
Oct 2019            $646.63                  $111.52     FHA Insurance                                                  $2,932.31                    $3,289.93
Nov 2019            $646.63                  $111.52     FHA Insurance                                                  $3,467.42                    $3,825.04
Dec 2019            $646.63                  $111.52     FHA Insurance                                                  $4,002.53                    $4,360.15
Dec 2019              $0.00                $1,126.44     ALLSTATE EDI ONLY                                              $2,876.09                    $3,233.71
Jan 2020            $646.63                  $111.52     FHA Insurance                                                   $3,411.20                   $3,768.82
Jan 2020              $0.00                $2,698.60     HAMILTON COUNTY (W)                                              $712.60                $1,070.22
Feb 2020            $646.63                  $111.52     FHA Insurance                                                   $1,247.71                   $1,605.33
Mar 2020            $646.63                  $111.52     FHA Insurance                                                   $1,782.82                   $2,140.44
Apr 2020            $646.63                  $111.52     FHA Insurance                                                   $2,317.93                   $2,675.55
May 2020            $646.63                  $111.52     FHA Insurance                                                  $2,853.04                    $3,210.66
Jun 2020            $646.63                  $111.52     FHA Insurance                                                  $3,388.15                    $3,745.77
Jun 2020              $0.00                $2,596.29     HAMILTON COUNTY (W)                                              $791.86                    $1,149.48

Totals            $7,759.56                $7,759.57



 Part 4 - Escrow account history
Escrow account activity from August, 2018 to June, 2019
                      Deposits to escrow                   Payments from escrow                                                      Escrow balance
   Date      Actual      Projected Difference          Actual   Projected Difference               Description           Actual         Projected Difference
Aug 2018                                                                                        Starting Balance         -$2,513.20      $1,588.24      -$4,101.44
Aug 2018       $564.02        $637.82      -$73.80        $0.00          $114.74     -$114.74   FHA Insurance            -$1,949.18      $2,111.32      -$4,060.50

Aug 2018         $0.00         $0.00         $0.00       $114.74          $0.00      $114.74    FHA Insurance           -$2,063.92       $2,111.32      -$4,175.24

Sep 2018      $1,128.04       $637.82      $490.22        $0.00          $114.74     -$114.74   FHA Insurance             -$935.88      $2,634.40       -$3,570.28

Sep 2018         $0.00         $0.00         $0.00       $114.74          $0.00      $114.74    FHA Insurance           -$1,050.62      $2,634.40       -$3,685.02

Oct 2018       $564.02        $637.82      -$73.80        $0.00          $114.74     -$114.74   FHA Insurance             -$486.60       $3,157.48      -$3,644.08

Oct 2018         $0.00         $0.00         $0.00       $114.74          $0.00      $114.74    FHA Insurance             -$601.34       $3,157.48      -$3,758.82

Nov 2018      $1,292.48       $637.82      $654.66        $0.00          $114.74     -$114.74   FHA Insurance              $691.14      $3,680.56       -$2,989.42

Nov 2018         $0.00         $0.00         $0.00       $114.74          $0.00      $114.74    FHA Insurance              $576.40      $3,680.56       -$3,104.16

Nov 2018         $0.00         $0.00         $0.00     $1,126.44          $0.00    $1,126.44    ALLSTATE EDI ONLY         -$550.04      $3,680.56       -$4,230.60

Dec 2018       $728.46        $637.82       $90.64        $0.00          $114.74     -$114.74   FHA Insurance              $178.42      $4,203.64       -$4,025.22

Dec 2018         $0.00         $0.00         $0.00        $0.00     $1,069.14      -$1,069.14   ALLSTATE EDI ONLY          $178.42       $3,134.50      -$2,956.08

Dec 2018         $0.00         $0.00         $0.00       $114.74          $0.00      $114.74    FHA Insurance               $63.68       $3,134.50      -$3,070.82

Jan 2019         $0.00        $637.82     -$637.82       $114.74         $114.74       $0.00    FHA Insurance              -$51.06       $3,657.58      -$3,708.64

Jan 2019         $0.00         $0.00         $0.00     $2,698.60    $2,611.42         $87.18    HAMILTON COUNTY (W)     -$2,749.66       $1,046.16      -$3,795.82

Feb 2019      $1,456.92       $637.82      $819.10        $0.00          $114.74     -$114.74   FHA Insurance            -$1,292.74      $1,569.24      -$2,861.98

Feb 2019         $0.00         $0.00         $0.00       $111.52          $0.00       $111.52   FHA Insurance           -$1,404.26       $1,569.24      -$2,973.50

Mar 2019       $728.46        $637.82       $90.64        $0.00          $114.74     -$114.74   FHA Insurance             -$675.80      $2,092.32       -$2,768.12

Mar 2019         $0.00         $0.00         $0.00       $111.52          $0.00       $111.52   FHA Insurance             -$787.32      $2,092.32       -$2,879.64

Apr 2019      $1,596.20       $637.82      $958.38        $0.00          $114.74     -$114.74   FHA Insurance             $808.88        $2,615.40      -$1,806.52

Apr 2019         $0.00         $0.00         $0.00       $111.52          $0.00       $111.52   FHA Insurance              $697.36       $2,615.40      -$1,918.04

May 2019      $2,185.38       $637.82     $1,547.56       $0.00          $114.74     -$114.74   FHA Insurance            $2,882.74       $3,138.48        -$255.74
(estimate)

May 2019         $0.00         $0.00         $0.00       $111.52          $0.00       $111.52   FHA Insurance             $2,771.22      $3,138.48        -$367.26

Jun 2019       $728.46        $637.82       $90.64       $111.52         $114.74      -$3.22    FHA Insurance            $3,388.16       $3,661.56        -$273.40
(estimate)

Jun 2019         $0.00         $0.00         $0.00     $2,596.29   $2,596.29           $0.00    HAMILTON                   $791.87       $1,065.27        -$273.40
(estimate)                                                                                      COUNTY (W)

Totals       $10,972.44     $7,016.02    $3,956.42     $7,667.37   $7,538.99         $128.38
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